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Attorneys for Plaintiff


                              IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF ALASKA AT ANCHORAGE

PETRO STAR INC.,                    )
                                    )
            Plaintiff,              )             Case No. 3:11-cv-0064-RRB
                                    )
v.                                  )
                                    )
BP OIL SUPPLY CO., BP PRODUCTS      )
NORTH AMERICA INC.                  )
                                    )
            Defendants.             )
____________________________________)


                                     FIRST AMENDED COMPLAINT



                                                                              1
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                                    JURISDICTIONAL STATEMENT

         1.        The Court has jurisdiction over this suit pursuant to 28 U.S.C. § 1332(a) and (c).

Plaintiff and defendants are corporate citizens of different States and the amount in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs.

                                                PARTIES

         2.        Plaintiff Petro Star Inc. (“Petro Star”) is an Alaskan corporation with its principal

place of business in Anchorage, Alaska.

         3.        Defendant BP Oil Supply Co. was, at all relevant times, a Delaware corporation

with its principal place of business in Warrenville, Illinois.

         4.        Defendant BP Products North America Inc. is a Maryland corporation with its

principal place of business in Baltimore, Maryland, or Houston, Texas. On information and

belief, BP Products North America Inc. is successor-in-interest to BP Oil Supply Co. by merger,

and therefore succeeded to all liabilities and obligations of BP Oil Supply Co. asserted herein.

Collectively, the two companies are referred to herein as “BP”. BP may be served with process

through its registered agent Prentice-Hall Corporation System, Inc., 9360 Glacier Hwy, Suite

202, Juneau, Alaska 99801.

                                                 VENUE

         5.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(a) because BP

resides in this District pursuant to 28 U.S.C. § 1391(c) and because a substantial part of the

events or omissions giving rise to the claims occurred in this District.



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                                               FACTS

         6.        Petro Star owns and operates a refinery in North Pole, Alaska, and a refinery in

Valdez, Alaska. Both refineries receive crude oil from the Trans Alaskan Pipeline System

(“TAPS”), retain certain fractions of that oil to use as refinery fuel and to manufacture products

for sale, and then return the unused fractions of the oil to TAPS. For many years prior to July 1,

2000, Petro Star bought Alaska North Slope (“ANS”) crude oil from BP for delivery to those

refineries, under an arrangement in which Petro Star purchased the oil that it retained and

exchanged the oil that it returned to TAPS. For purposes relevant to this suit, those purchases

and exchanges were addressed by the following contracts between Petro Star and BP:

         (1) BP Contract 13297 & 14022, a Term ANS Exchange Agreement effective as of
         October 2, 1991, which provided for delivery of crude oil to Petro Star’s North Pole
         refinery and exchanges of oil at the point of delivery (the “1991 Contract”);

         (2) BPOSC Contract 15170, a Term Crude Oil Sales Agreement effective July 21, 1992,
         which provided for delivery of crude oil to Petro Star’s Valdez refinery (the “1992 Sales
         Contract”);

         (3) BPOSC Contract 15171, a Term Crude Oil Exchange Agreement effective July 21,
         1992, which provided for exchanges of crude oil between BP and Petro Star at the point
         of delivery for the Valdez refinery (the “1992 Exchange Contract”);

         (4) BPOSC Contract No. SA55425, a/k/a PETRO STAR Contract No. 2000-1, executed
         in December 1999, which superseded and replaced the 1991 Contract with respect to
         deliveries of crude oil to the North Pole refinery (“the 1999 North Pole Sales Contract”);

         (5) BPOSC Contract No. BS55428, a/k/a PETRO STAR Contract No. 2000-2, also
         executed in December 1999 and effective in April 2000, which superseded and replaced
         the 1991 Contract with respect to exchanges of crude oil at the North Pole refinery
         delivery point (“the 1999 North Pole Exchange Contract”);

         (6) BPOSC Contract No. SA55427, a/k/a PETRO STAR Contract No. 2000-3, also
         executed in December 1999 and effective in April 2000, which superseded and replaced
         the 1992 Sales Contract (the “1999 Valdez Sales Contract”); and
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         (7) BPOSC Contract No. BS55429, a/k/a PETRO STAR Contract No. 2000-4, also
         executed in December 1999 and effective in April 2000, which superseded and replaced
         the 1992 Exchange Contract (the “1999 Valdez Exchange Contract”).

The 1991 Contract, the 1992 Sales Contract, the 1992 Exchange Contract, the 1999 North Pole

Sales Contract, the 1999 North Pole Exchange Contract, the 1999 Valdez Sales Contract, and the

1999 Valdez Exchange Contract, including written amendments, are collectively referred to in

this Complaint as the “BP-Petro Star Contracts.”

         7.        Under the 1991 Contract, BP arranged for transportation of the oil from Pump

Station No. 1 on the ANS via TAPS to the junction of TAPS and a pipeline in North Pole,

Alaska, owned and operated by the Golden Valley Electric Association (the “GVEA pipeline”).

The GVEA pipeline, in turn, provided transport of the crude oil to Petro Star’s nearby North Pole

refinery.

         8.        BP also sold ANS crude oil to other customers for delivery to the U.S. West

Coast.      BP transported that oil via TAPS from the ANS to the Valdez Marine Terminal

(“VMT”), where the crude oil was loaded onto tankers for marine transportation to refinery

destinations on the West Coast.

         9.        At all relevant times, TAPS was owned in undivided joint interests by subsidiaries

of most of the oil companies that produced ANS crude oil and shipped it via TAPS. BP’s

affiliate BP Pipelines (Alaska) Inc. was at all relevant times one of the TAPS carriers.

         10.       The rates charged by the TAPS carriers for transport of ANS crude oil were at all

relevant times subject to government regulation. With respect to oil delivered to markets on the

U.S. West Coast (i.e., interstate shipments), rates were subject to regulation by the Federal
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Energy Regulatory Commission (“FERC”). With respect to ANS crude oil removed from TAPS

in Alaska and processed for sale in local markets, rates were governed by the Regulatory

Commission of Alaska (“RCA”) or its predecessor, the Alaska Public Utilities Commission,

pursuant to the Alaska Pipeline Act. The Alaska Pipeline Act requires that oil pipelines be

operated as common carriers and gives the RCA responsibility for ensuring that rates for

intrastate transportation are just and reasonable.

         11.       BP was responsible for paying the TAPS carriers for transportation of ANS crude

oil from Pump Station No. 1 on the ANS to the junction of TAPS and the GVEA pipeline for

ultimate delivery to Petro Star’s North Pole refinery. However, BP’s 1991 Contract with Petro

Star provided a pricing formula that passed along transportation costs to Petro Star.

         12.       In substance, the pricing formula started with BP’s price for ANS crude oil

delivered to the West Coast. The formula then made adjustments to account for the fact that the

crude oil BP was delivering to Petro Star was not being shipped to the West Coast but was

instead shipped intrastate to the TAPS-GVEA junction in North Pole.                First, the formula

provided for deduction of an amount that the parties deemed to represent the cost of marine

transportation from VMT to the West Coast.             Second, the formula provided for a further

deduction representing the “implied TAPS [] tariff differential” for transporting crude oil from

the TAPS-GVEA junction to the VMT.

         13.       At all relevant times, there was no TAPS tariff applicable to transportation of oil

from the TAPS-GVEA junction to the VMT. Petro Star is informed and believes that BP

calculated the implied tariff differential between the TAPS-GVEA connection and the VMT by
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subtracting (x) the intrastate tariff from Pump Station No. 1 to the TAPS-GVEA connection from

(y) the interstate tariff between Pump Station No. 1 and the VMT. Deducting this implied tariff

differential from BP’s price for ANS crude oil delivered to the West Coast was mathematically

the same as (i) subtracting the interstate Pump Station No. 1 to VMT tariff (which, when

combined with the deduction for marine transportation from the VMT to the West Coast, had the

effect of eliminating all transportation charges from Pump Station No. 1 to the West Coast and

therefore valuing the oil at Pump Station No. 1, the TAPS’ northern terminus), and then (ii)

adding the intrastate tariff from Pump Station No. 1 to the TAPS-GVEA connection (which

adjusted the Pump Station No. 1 value of the oil for the added cost to deliver it to Petro Star at

the TAPS-GVEA Connection).

         14.       Schematically, the relevant price paid by Petro Star under the 1991 Contract was

therefore the result of the following calculation: West Coast Price – A – B + C.




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                                          Pump Station No. 1



                                                                                  C



                                            GVEA Junction
                      B




                                                VMT



                       A



                                              West Coast



         15.       In other words, under the 1991 Contract, BP began with a price for ANS crude oil

delivered to the West Coast, “backed out” components representing the interstate transportation

charge for shipment of oil from Pump Station No. 1 to the West Coast, and then added the

intrastate TAPS tariff rate for shipment from Pump Station No. 1 to the GVEA pipeline junction.

         16.       In December 1999, BP and Petro Star executed the 1999 North Pole Sales

Contract, which by its terms replaced and superseded the 1991 Contract with respect to sales and

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delivery of ANS crude oil at the TAPS-GVEA junction. The pricing formula in the replacement

contract was in substance no different than the formula in the 1991 Contract, though the

language was revised to add clarity. It began with a delivered West Coast price for ANS crude

oil, subtracted an amount representing the cost of marine transportation from VMT to the West

Coast, further subtracted the average TAPS tariff rate for shipments from Pump Station No. 1 to

the VMT, and then added the BP Pipelines TAPS tariff rate for shipments from Pump Station

No. 1 to the GVEA pipeline junction.

         17.       The 1992 Sales Contract, which governed shipments from the ANS to Petro Star’s

Valdez refinery, and the 1992 Exchange Contract, which governed exchanges at the delivery

point for the Valdez refinery, taken together, were similar to the 1991 Contract that governed

shipments and exchanges for the North Pole refinery. Like the 1991 Contract, the 1992 Sales

Contract also included a pricing formula that began with a price for ANS crude oil delivered to

the West Coast and then provided for deduction of an amount representing charges for marine

shipment from VMT to the West Coast. It then provided for a further deduction representing the

“implied TAPS [] tariff differential” for transporting crude oil from the junction of Petro Star’s

Valdez refinery and the VMT.

         18.       However, at all relevant times, there was no TAPS tariff applicable to

transportation of oil from the junction of Petro Star’s Valdez refinery to the VMT.   Petro Star is

informed and believes that BP calculated the implied tariff differential between Petro Star’s

Valdez Refinery connection and the VMT by subtracting (x) the intrastate tariff from Pump

Station No. 1 to the Valdez Refinery connection from (y) the interstate tariff between Pump
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Station No. 1 and the VMT. Subtracting this implied tariff differential from the price for ANS

crude oil delivered to the West Coast was mathematically the same as (i) subtracting the

interstate Pump Station No. 1 to VMT tariff (which, when combined with the deduction for

marine transportation from the VMT to the West Coast, had the effect of eliminating all

transportation charges from Pump Station No. 1 to the West Coast and therefore valuing the oil

at Pump Station No. 1, the TAPS’ northern terminus) and then (ii) adding the intrastate tariff

from Pump Station No. 1 to the Valdez Refinery connection (which adjusted the Pump Station

No. 1 value of the oil for the added cost to deliver it to Petro Star at the Valdez Refinery

Connection).

         19.       Schematically, the relevant price paid by Petro Star under the 1992 Sales Contract

was therefore the result of the following calculation: West Coast Price – A – B + C.




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                                          Pump Station No. 1



                                                                               C



                                            Valdez Refinery
                      B




                                                VMT



                       A



                                              West Coast



         20.       In other words, under the 1992 Sales Contract, BP began with a price for ANS

crude oil delivered to the West Coast, “backed out” components representing the interstate

transportation charge for shipment from ANS to the West Coast, and then added the intrastate

TAPS tariff rate for shipment from ANS to Petro Star’s Valdez refinery junction.

         21.       In December 1999, BP and Petro Star executed the 1999 Valdez Sales Contract

and 1999 Valdez Exchange Contract, which by their terms replaced and superseded the 1992

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Sales Contract and 1992 Exchange Contract. The pricing formula in the 1999 Valdez Sales

Contract was in substance no different than the formula in the 1992 Sales Contract, though the

language was revised to add clarity. It began with a delivered West Coast price for ANS crude

oil, subtracted an amount representing the cost of marine transportation from VMT to the West

Coast, further subtracted the average TAPS tariff rate for shipments from Pump Station No. 1 to

the VMT, and then added the BP Pipelines TAPS tariff rate for shipments from Pump Station

No. 1 to Petro Star’s Valdez refinery junction.

         22.       In short, upon information and belief, under all four of the BP-Petro Star

Contracts governing sales and delivery of crude oil, Petro Star paid BP a price that incorporated

the applicable intrastate TAPS tariff rates for shipments from the ANS to either the GVEA

pipeline junction serving Petro Star’s North Pole refinery or to the junction of TAPS and Petro

Star’s Valdez refinery.

         23.       Under the regulatory regime established by the Alaska Pipeline Act, the TAPS

carriers proposed intrastate tariff rates for 1997. In December 1996, certain shippers of ANS

crude oil protested those rates. In response to the protests, the RCA suspended the rates and

began an investigation of their lawfulness. The RCA subsequently also suspended the TAPS

carriers’ intrastate rates for 1998, 1999, and 2000, thereby preventing them from becoming final

and effective. However, the RCA permitted the TAPS carriers to collect temporary, interim rates

equal to the carriers’ proposed rates for 1997 – 2000, subject to refund in the event they

exceeded the final rates to be established by the RCA as a result of its investigation.



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         24.       For purposes of determining prices charged to Petro Star under the BP-Petro Star

Contracts described above, BP applied the temporary rates charged by the TAPS carriers, which,

upon information and belief, BP was itself paying to ship ANS crude oil to Petro Star.

         25.       In November 2002, the RCA finally completed its investigation and issued Order

No. 151 in Docket P-97-4. In that order, the RCA determined that the TAPS carriers’ proposed

intrastate rates for 1997 – 2000, which the carriers had collected on an interim basis from

shippers such as BP, were not just and reasonable under the Alaska Pipeline Act. The RCA set

substantially lower rates that were to be applied instead, and it ordered refunds of the unlawful

charges that the TAPS carriers had collected on an interim basis, i.e., the difference between the

temporary rates which the carriers had collected and the final TAPS tariff rates for those years,

as determined and established by the RCA.

         26.       The TAPS carriers appealed the RCA’s order, initially to the superior court and

ultimately to the Alaska Supreme Court. The superior court stayed the refund requirement

pending the outcome of the carriers’ appeal. The ensuing litigation was not finally resolved, nor

were refunds paid, until after February 15, 2008, when the Alaska Supreme Court entered its

final order upholding the RCA’s decision in all respects. See Amerada Hess Pipeline Corp. v.

Regulatory Comm’n of Alaska, 176 P.2d 667 (2008).

         27.       As a result of the Alaska Supreme Court’s decision, the refund stay was lifted and

under the terms of RCA Order No. 151, the TAPS carriers paid refunds to shippers of ANS crude

oil, including BP.        Among the refunds that BP collected were refunds applicable to BP’s

shipment of ANS crude oil to Petro Star’s North Pole and Valdez refineries pursuant to the BP-
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Petro Star Contracts. Pursuant to the RCA’s Order No. 162, which was also appealed and upheld

by the Alaska Supreme Court, the TAPS carriers also paid shippers, including BP, 10.5% interest

on the refunded amounts.

         28.       Upon information and belief, BP and/or its affiliate(s) have collected from the

TAPS carriers more than $20 million in refunds and interest applicable to BP’s shipments of

ANS crude oil to Petro Star under the BP-Petro Star Contracts.

         29.       Under the terms of the BP-Petro Star Contracts, Petro Star funded BP’s payments

to the TAPS carriers under the temporary 1997 – 2000 rates that the RCA determined were

illegal. Those illegal rates were embedded in the prices that BP charged Petro Star for ANS

crude oil and were thus passed onto and borne by Petro Star. BP has now received refunds of the

illegal overcharges as determined by the RCA, plus interest at 10.5%. However, BP has failed

and refused to pay to Petro Star those refunds and interest.

         30. By failing and refusing to pay over to Petro Star the refund amounts and interest BP

has collected pursuant to the RCA’s order, BP is enjoying a windfall at Petro Star’s expense.

Petro Star bore the economic cost of intrastate shipping charges that the RCA has determined

were illegal, but BP is now holding for itself the remedy ordered by the RCA for those illegal

overcharges.

         31.       The BP-Petro Star Contracts that governed exchanges of ANS crude oil between

BP and Petro Star—i.e., the 1991 Contract, the 1992 Exchange Contract, the 1999 North Pole

Exchange Contract, and the 1999 Valdez Exchange Contract—required Petro Star to pay BP an

“exchange differential” to reimburse BP for “quality bank charges” that BP was required to pay
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under the TAPS tariffs. Those TAPS quality bank charges accounted for the difference between

the quality of the oil that Petro Star returned to TAPS and the quality of the oil in the common

TAPS stream. The “exchange differential” that Petro Star was required to pay BP under their

contracts was equal to the TAPS quality bank charges paid by BP plus, in some cases, an

administrative fee charged by BP. Under the BP-Petro Star Contracts, any retroactive changes to

the TAPS quality bank charges, which TAPS imposed from time to time and which BP was

required to pay in the first instance, resulted in retroactive changes to the exchange differential

that Petro Star was required to pay to BP. Thus, the TAPS quality bank charges paid by BP were

passed through to Petro Star, which periodically made quality bank adjustment payments, plus

interest, to BP.

         32.       On or about September 28, 2007, pursuant to the BP-Petro Star Contracts and an

invoice issued by BP on or about September 25, 2007, Petro Star paid to BP, and BP accepted,

retroactive quality bank adjustment payments in the total amount of $8,891,789, including

interest, for the months ending February 29, March 31, April 30, May 31, and June 30, 2000,

relating to ANS crude oil exchanged at the points of delivery for both the North Pole and Valdez

refineries.



                     FIRST CAUSE OF ACTION: BREACH OF CONTRACT

         33.       Petro Star incorporates by this reference Paragraphs 1 - 32 of this Complaint as if

fully set forth.



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          34.      The BP-Petro Star Contracts all provided formulas for the selling price per barrel

that Petro Star was required to pay BP for ANS crude oil.               Those contractual formulas

incorporated, directly or indirectly, TAPS intrastate tariff rates for shipments of crude oil from

Pump Station No. 1 on the ANS to either the GVEA pipeline junction or the junction of TAPS

and Petro Star’s Valdez refinery.

          35.      Because of regulatory investigations and subsequent judicial appeals, the final,

lawful intrastate TAPS tariffs applicable to the pricing formulas for shipments subject to the

1997 – 2000 TAPS intrastate tariffs were not established until after the February 15, 2008

decision of the Alaska Supreme Court in Amerada Hess Pipeline Corp. v. Regulatory Comm’n of

Alaska, 176 P.2d 667 (2008). The RCA allowed the TAPS Carriers to collect the shipping rates

charged shippers (including BP) during the relevant years on only a temporary basis, subject to

refund.

          36.      Based on the final, lawful TAPS intrastate rates established by the RCA in Order

No. 151, Petro Star overpaid BP for ANS crude oil under the BP-Petro Star Contracts. BP has

itself received refunds, with interest, for the overcharges as determined by the RCA. By failing

and refusing to pay over to Petro Star the refund amounts, with regulatory interest, applicable to

BP’s shipments of ANS crude oil pursuant to the BP-Petro Star Contracts, BP has breached those

contracts. In the alternative, by failing and refusing to re-calculate the contractual prices due

under the BP-Petro Star Contracts based on the final TAPS tariff rates and to refund to Petro Star

the difference between those prices and what Petro Star paid, BP has breached the contracts.



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         37.       BP’s conduct as described herein also constitutes a breach of the covenant of

good faith and fair dealing that is implied by law in the BP-Petro Star Contracts.

         38.       Petro Star is entitled to recover from BP as damages the difference between the

amounts it paid BP pursuant to the BP-Petro Star Contracts and the amounts that would have

been due had the final TAPS intrastate tariff rates, as determined by the RCA, been in force at

the time Petro Star made those payments, together with interest.

         39.       In the alternative, if BP prevails against this claim on the alleged defense of

novation or prior release, or any other defense based on a theory that Petro Star’s rights or BP’s

obligations under the BP-Petro Star Contracts were extinguished at any time prior to September

28, 2007, then Petro Star is entitled to recovery and reimbursement from BP of the $8,891,798 in

quality bank adjustment payments that Petro Star made to BP pursuant to the BP-Petro Star

Contracts on or about September 28, 2007.

         40.       Petro Star is also entitled to recover from BP, as indemnification, Petro Star’s

costs and expenses, including reasonable attorneys fees, incurred in pursuing its remedies under

the BP-Petro Star Contracts.



                                      SECOND CAUSE OF ACTION:

          REFORMATION OF CONTRACT BASED ON UNCONSCIONABILITY

         41.       Petro Star incorporates by this reference Paragraphs 1 - 32 of this Complaint as if

fully set forth.



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         42.       Pleading in the alternative, Petro Star alleges that if the payment terms of the BP-

Petro Star Contracts are interpreted to mean that Petro Star is not entitled to receive the TAPS

intrastate tariff refunds received by BP, with interest, that are applicable to BP’s shipments of

ANS crude oil pursuant to the BP-Petro Star Contracts, then those payment terms are and were

unconscionable at the time those Contracts were made, and the Contracts should be reformed to

avoid the unconscionable result of BP retaining the TAPS intrastate tariff refunds as a windfall

and to provide that Petro Star, as the purchaser under those Contracts, is entitled to any and all

refunds received by BP for tariff rates that were paid in excess of the final, lawful, just and

reasonable TAPS tariffs, as determined by the RCA, in connection with BP’s sale of ANS crude

oil to Petro Star, together with interest.

         43.       Based on the reformed BP-Petro Star Contracts, Petro Star is entitled to recover

from BP as damages the difference between the amounts it actually paid BP pursuant to the BP-

Petro Star Contracts, based on TAPS tariff rates that were not lawful, just and reasonable, and

the amounts that Petro Star should or would have paid if the final, lawful, just and reasonable

TAPS intrastate tariff rates, as determined by the RCA, had been in force at the time Petro Star

made those payments, together with interest.

         44.       In the alternative, if BP prevails against this claim on the alleged defense of

novation or prior release, or any other defense based on a theory that Petro Star’s rights or BP’s

obligations under the BP-Petro Star Contracts were extinguished at any time prior to September

28, 2007, then Petro Star is entitled to recovery and reimbursement from BP of the $8,891,798 in



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quality bank adjustment payments that Petro Star made to BP pursuant to the BP-Petro Star

Contracts on or about September 28, 2007.

         45.       Petro Star is also entitled to recover from BP, as indemnification, Petro Star’s

costs and expenses, including reasonable attorneys fees, incurred in pursuing its remedies under

the BP-Petro Star Contracts as reformed.



                                          THIRD CAUSE OF ACTION:

                        UNJUST ENRICHMENT AND QUASI-CONTRACT

         46.       Petro Star incorporates by this reference Paragraphs 1 - 32 of this Complaint as if

fully set forth.

         47.       Pleading in the alternative, Petro Star alleges that BP would be the beneficiary of

an unjust enrichment if it were permitted to retain the amount refunded to it by the TAPS carriers

plus interest as prescribed by the RCA. Petro Star made payments to BP for crude oil in amounts

that included interim transportation charges assessed by the TAPS carriers. The RCA ultimately

established final TAPS tariff rates significantly lower than those interim charges and required the

TAPS carriers to refund the difference plus interest. Thus BP has received and appreciated a

benefit conferred by Petro Star in the form of excessive payments for the transportation and

delivery of the crude oil that Petro Star purchased from BP. Because BP has now received

refunds plus interest on shipping charges attributable to its transportation and delivery of crude

oil to Petro Star, it would be inequitable and unjust for BP to retain both the full amount of Petro



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Star’s payments attributable to the carriers’ interim rates and the amount of the refund and

interest from the TAPS carriers.



                                                PRAYER

          WHEREFORE, Petro Star prays for entry of judgment awarding Petro Star the following

relief:

          1.       Damages for BP’s breach of contract, as written or as reformed, and/or restitution

                   for BP’s unjust enrichment, in an amount to be determined at trial or upon

                   summary judgment;

          2.       Reimbursement of the quality bank adjustment payments that Petro Star made to

                   BP on or about September 28, 2007, in the amount of $8,891,798, if the Court

                   finds that any rights of Petro Star or obligations of BP under the BP-Petro Star

                   Contracts were extinguished at any time prior to September 28, 2007;

          3.       Prejudgment and post-judgment interest on any damages, restitution, and/or

                   reimbursement of quality bank adjustment payments awarded to Petro Star,

                   calculated at the highest lawful rate;

          4.       Petro Star’s costs of suit, including reasonable attorneys fees; and

          5.       Such other and further relief as the Court may find to be just and proper.




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         DATED this 10th day of August, 2011.

                                               SUSMAN GODFREY L.L.P.
                                               Attorneys for Plaintiff


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  CERTIFICATE OF SERVICE

  I hereby certify that on the 10 day of August, 2011,
  a copy of the foregoing document was served electronically
  on:

  Louis R. Veerman
  Michael S. McLaughlin
  Ronald C. Redcay
  James F. Speyer

  Susman Godfrey L.L.P.

  By: /s/Floyd G. Short



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